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MIED (Rev.5/13) General Civil Complaint Sevuaco 2
UNITED STATES DISTRICT COURT WLI.
EASTERN DISTRICT OF MICHIGAN OS
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Portas} fa Clerl,

Case:2:15-cv-10413
Judge: Michelson, Laurie J.
MJ: Hluchaniuk, Michael J.

ude Yuya Filed: 01-30-2015 At 11:10 AM

CMP NICKERSON V. DUGGAN (DA)

Key WKber5 Plaintiff(s),
Vv.

Defendant(s).
/

COMPLAINT

I, Defendant(s). Print the full name for each defendant. If there are more defendants, use additional pages
to provide their names.

Name of Defendant(s)
dk yung AAS

4.

5.

II. Statement of claim. Briefly state the facts of your case. Describe how each defendant is involved, and
exactly what each defendant did, or failed to do. Include names of any other persons involved, dates, and
places. You may use additional paper if necessary.

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IED (Rev.5/13) General Civil Complaint

 

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Relief. Briefly state exactly what you want the court to do for you.

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Case 2:15-cv-10413-NGE-DRG ECF No. 1, PagelD.3 Filed 01/30/15 Page 3 of 50
IED (Rev.5/13) General Civil Complaint

 

 

 

IV. Additional Information. — Briefly enter any additional information, you may use additional paper.

 

 

 

 

 

 

V. Demand for Jury Trial. Check this box if you want your case to be decided by a jury, instead of a judge.

.O Plaintiff demands a jury trial on all issues.

Dated: |] —G—-/S CARN Arlene

Plaintiff’ s Signature

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Plaintit? ¥Printed Name

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